
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and the respondent’s Answer.
The claimant, Doddridge County Commission, is occasionally responsible for the incarceration of prisoners who have committed crimes in Doddridge County, but have been sentenced to facilities owned and maintained by the respondent, Division of Corrections. The claimant brought this action to recover housing costs for prisoners who have been sentenced to a state penal institution. However, due to circumstances, beyond the control of the claimant, the prisoners have had to remain in the Richie County Jail for periods of time beyond the date of the sentencing order. The prisoners were held in the Ritchie County Jail because Doddridge County does not have a jail.
This Court previously determined in County Comm'n. of Mineral County vs. Div. of Corrections, unpublished opinion issued November 21, 1990, CC-89-340, that the respondent was liable for the costs of housing and providing medical care to inmates sentenced to a state penal institution.
Pursuant to the holding in Mineral County, the respondent has reviewed this claim to determine the appropriate costs associated with housing the prisoners who should have been in a state penal institution. The respondent then filed an Amended Answer admitting the validity of this claim in the amount of $1,155.00.
Based on the reasons stated above, the Court makes an award to the claimant in the amount of$l, 155.00.
Award of $1,155.00.
